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                         UNITED STATES DISTRICT COURT                      WESTERN DISTRICT OF TEXAS
                       FOR THE WESTERN DISTRICT OF TEXAS                                  pg
                                                                        BY: ________________________________
                                                                                                DEPUTY
                                AUSTIN DIVISION

FREE SPEECH COALITION, INC., et al.,

              Plaintiffs,

      v.                                   CASE NO. 1:23-cv-00917-DAE

ANGELA COLMENERO, In Her Official
Capacity As Interim Attorney General For
The State Of Texas

              Defendant.



PLAINTIFFS’ REPLY TO DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION
              FOR EXPEDITED PRELIMINARY INJUNCTION
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                                 PRELIMINARY STATEMENT

        The State’s opposition confirms Plaintiffs’ challenge is likely to succeed under

established law. It ignores constitutional defects, such as compelled statements about inapposite

“hotlines,” which go altogether undefended. And it concedes dispositive points, such as the

absence of any satisfactory justification for discouraging consumption of adult content by adults,

which the State neither denies is a statutory purpose nor defends. To justify preliminary relief

based on likelihood of success, it suffices to note that the State’s defense—pitched in part as a

bid to change Supreme Court precedent—is not likely to succeed when measured against the law

as it exists today and the current record. The likely result here is the same one that the Supreme

Court and lower courts have repeatedly and consistently reached when invalidating laws, such as

the Act, that limit adults’ access to adult content under the guise of protecting minors, without

accounting for less restrictive alternatives. Delving further into the facts, the State fails to

address Plaintiffs’ expert declarations while ignoring its burden to justify content-based

restrictions and compulsions of speech that trigger strict scrutiny. A preliminary injunction

should issue.

                                            ARGUMENT
I.      THE STATE MISSTATES THE APPLICABLE LEGAL STANDARD
        The State incorrectly suggests (Opp. at pp. 4, 23-24) that this Court should place a thumb
on the scales to uphold the Act. But the unpublished cases the State cites concern deference to

state prisons, not legislative encroachment on protected speech. See Parrott v. Livingston, 2016

WL 4487918, at *1 (E.D. Tex. June 29, 2016); Gibson v. Leblanc, 2016 WL 5796897, at *2

(M.D. La. Sept. 30, 2016). The State’s citation to Machete Prods., L.L.C. v. Page, 809 F.3d 281,

288 (5th Cir. 2015), is equally inapposite. Machete found lack of standing based on the absence

of “real and imminent plans” to violate the law. Id. Here, standing is straightforward and, as to

certain Plaintiffs, uncontested. And because “the Government bears the burden of proof on the
ultimate question of [the Act’s] constitutionality,” Plaintiffs “must be deemed likely to prevail




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unless the Government has shown that [the] proposed less restrictive alternatives are less

effective[.]” Ashcroft v. Am. C.L. Union, 542 U.S. 656, 666 (2004).

II.    THE STATE’S ARGUMENTS AGAINST STANDING ARE MISPLACED
       The State skirmishes in vain over certain Plaintiffs’ standing. “[O]nce we determine that

at least one plaintiff has standing, we need not consider whether the remaining plaintiffs have

standing[.]” McAllen Grace Brethren Church v. Salazar, 764 F.3d 465, 471 (5th Cir. 2014). Here,

Plaintiffs Paper Street Media, LCC and Neptune Media, LLC incontestably have standing to assert

a First Amendment challenge to both the “age verification” and “health warning” provisions of the
Act. Both are based in the US; both create legal adult content; and both operate the websites to

which they upload that content. Declaration of Sadiq Muhammed at ¶¶ 2-3, 9-10. That establishes

standing and necessitates resolution of the merits. Salazar, 764 F.3d at 471.

       The State cannot avoid merits review by arguing (Opp. at p. 6) that all Plaintiffs’ content

is obscene. While Plaintiffs dispute that any of their content is, a substantial portion plainly is not.

Rebuttal Declaration of Robert Seifert at ¶ 2; Rebuttal Declaration of Andreas Alkiviades Andreou

at ¶ 2; Rebuttal Declaration of Sadiq Muhamed (“Muhamed Re. Decl.”) at ¶ 5; Declaration of

Philippe Craveiro-Romão at ¶¶ 4, 11-12. Moreover, the Act’s “health warning” provision compels

a government message that speaks in non-obscene terms. Nor can the State rely on Mr. Cabrera’s

perusal of Plaintiffs’ websites. Declaration of Erik Cabrera (“Cabrera Decl.”) at ¶¶ 7-13. Mr.

Cabrera fails to apply the Miller test and the State omits any argument as to how Plaintiffs’ content

is “patently offensive” under contemporary community standards. See Ashcroft v. Am. C.L. Union,

535 U.S. 564, 576 n.7 (2002).

       Finally, the State asserts that foreign Plaintiffs lack standing, ignoring that the speech at

issue is speech in Texas. See Thunder Studios, Inc. v. Kazal, 13 F.4th 736, 743 (9th Cir. 2021),

cert. denied sub nom. David v. Kazal, 142 S. Ct. 1674 (2022) (distinguishing Agency for Int’l Dev.

v. All. for Open Soc’y Int’l, Inc., 140 S. Ct. 2082, 2087 (2020), because even though the plaintiffs
“were outside the United States at all relevant times,” “the recipients of their speech and speech-

related conduct were in California.”). The State also sidesteps the overbreadth doctrine, under



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which “[l]itigants ... are permitted to challenge a statute not because their own rights of free

expression are violated, but because of a judicial prediction or assumption that the statute’s very

existence may cause others not before the court to refrain from constitutionally protected speech

or expression.” Virginia v. Am. Booksellers Ass’n, Inc., 484 U.S. 383, 386, 392–93 (1988) (cleaned

up). Accordingly, Plaintiffs may assert the rights of adults to view content on their websites,

notwithstanding their status as foreign entities.1 Standing should be beyond doubt.

III.   THE STATE FAILS TO REBUT PLAINTIFFS’ LIKELIHOOD OF SUCCESS
       A.      Strict Scrutiny Applies
       This is a straightforward case for applying strict scrutiny, because the Act restricts speech

that is not obscene as to adults, doing so based on content, viewpoint, and speaker. By its terms,

the Act requires any website containing more than one-third “sexual material harmful to minors”

to implement age verification, while exempting specified speakers without restriction.

§§ 129B.002, 005. In specifying the disfavored content that necessitates age verification, the Act

not only restricts speech that is protected for adults, it also restricts all speech that accompanies

such triggering speech on the same website. Because the Act thus quarantines vast amounts of

speech that is protected for adults—on the basis of content (adult content) and speaker identity

(adult websites)—strict scrutiny applies to the “age verification” provision. See Reed v. Town of

Gilbert, Ariz., 576 U.S. 155, 165, 169 (2015); Sorrell v. IMS Health Inc., 564 U.S. 552, 564 (2011).
       Strict scrutiny also applies to the “health warning” provision, for it compels politically

charged, controversial speech with which Plaintiffs vehemently disagree. See 303 Creative LLC

v. Elenis, 600 U.S. __, __ (2023) (slip op., at 8); Nat’l Inst. of Fam. & Life Advocs. v. Becerra, 138

S. Ct. 2361, 2371 (2018). While the State argues (Opp. at pp. 13-16) that the “health warnings”

required on website landing pages are permissible as compelled commercial disclosures, Plaintiffs


1
  The State’s remaining arguments as to FSC and Jane Doe are similarly unpersuasive. See
Rebuttal Declaration of Alison Boden at ¶¶ 2-3. Although the State suggests (Opp. at p. 8) that
Jane Doe lacks First Amendment injury, Plaintiffs have demonstrated that adults will forgo
websites complying with the Act, diminishing Doe’s ability to reach their audience. The dicta
the State cites from Fraser is irrelevant, concerning the constitutionality of high-school
discipline, not standing. Bethel Sch. Dist. No. 403 v. Fraser, 478 U.S. 675, 684 (1986).

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already debunked that (Mot. at pp. 14-16), and the State lacks contrary authority. Instead, the State

misplaces reliance on Texas Med. Providers Performing Abortion Servs. v. Lakey, 667 F.3d 570,

574 (5th Cir. 2012), which concerned informed consent law for abortions and relied principally on

the now overturned Planned Parenthood of Southeastern Pennsylvania v. Casey, 505 U.S. 833

(1992). Similarly, the State refers to Planned Parenthood Minnesota, N. Dakota, S. Dakota v.

Rounds, 686 F.3d 889, 898 (8th Cir. 2012), which the State misreads as instructing that Plaintiffs

must show that “[pornography] has been ruled out, to a degree of scientifically accepted certainty,

as a statistically significant causal factor in [the identified harms].” In fact, Rounds was addressing

“risk” associated with abortions, as relevant to analyzing undue burdens in the context of

physicians’ provision of healthcare services and women’s rights to the same. Rounds, 686 F.3d at

900. Neither of these abortion cases invokes broader caselaw surrounding compelled speech or

suggests the government is free to conscript private speakers to disseminate disputed claims.

       The State also suggests (Opp. at p. 16) that the subscription websites must post “health

warnings” because they have “landing page[s]” that are “nothing more than a place to click and

then follow a prompt to enter your payment information.” This is incorrect factually (see

Muhamed Re. Decl. at ¶; 4, Cabrera Decl. at ¶ 17) and off-base legally. The State ignores the

authority Plaintiffs cited to show that compelled disclosures are inappropriate where Plaintiffs
“advertise[] an activity itself protected by the First Amendment.” Bolger v. Youngs Drug Prod.

Corp., 463 U.S. 60, 68 n.14 (1983). Even if the landing pages include some commercial speech,

“an overbreadth challenge still may be considered with respect to [the] non-commercial speech.”

Serafine v. Branaman, 810 F.3d 354, 365 (5th Cir. 2016). The State finally argues (Opp. at p. 13-

14) that its “health warnings” are true and therefore permitted under Zauderer. Not only does the

State whistle past aspects of the warnings that are not “true” in any sense—particularly the stray

references to hotlines—it ignores the second requirement of Zauderer (see Mot. at p. 14-15) that

the disclosures be uncontroversial, which they are not. See Cole Decl. (Exh. 7 at p. 58); see
Declaration of David Lay at ¶ 17. Even apart from being false or baseless, they are controversial

at best. See Cole Re. Decl. (Exh. 7-20).


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       Finally, the State posits (Opp. at p. 6) that the Act warrants intermediate scrutiny on the

theory that the internet is analogous to a town square and the Act seeks to control the “secondary

effects” of adult businesses. See, e.g., City of Los Angeles v. Alameda Books, Inc., 535 U.S. 425,

441 (2002) (scrutinizing a zoning ordinance meant to reduce crime and increase property values).

Tellingly, the State relies on Justice Scalia’s dissent in Ashcroft. Of course, governing Supreme

Court precedent goes the opposite way. Laws restricting the distribution of adult content concern

the primary effects on viewers and warrant strict scrutiny. See Ashcroft, 542 U.S. at 676; United

States v. Playboy Ent. Grp., Inc., 529 U.S. 803, 815 (2000); Reno v. Am. C.L. Union, 521 U.S. 844,

868 (1997); Sable Commc’ns of California, Inc. v. F.C.C., 492 U.S. 115, 126 (1989). That the Act

regulates primary effects is confirmed by its “health warnings,” which concern the supposed

primary effects of viewing adult content, e.g., addiction and brain damage. To term these

“secondary effects” would distort the doctrine beyond recognition, opening the door for

government to recharacterize any regulation of disfavored speech and its supposes effects on

listeners as oriented towards “secondary effects” in order to water down the applicable scrutiny.

       B.      The State Fails To Show The Act Survives Strict Scrutiny
       Because strict scrutiny applies to both provisions,2 the Act is “presumptively

unconstitutional.” Texas Ent. Ass’n, Inc. v. Hegar, 10 F.4th 495, 509 (5th Cir. 2021). Yet the

State has not carried its burden to show the Act serves a compelling interest and is narrowly

tailored, utilizing the least restrictive means to achieve its ends. Ashcroft, 542 U.S. at 663.

               1.      Neither the “age verification” provision nor the “health warning”
                       provision pursues a compelling interest in protecting minors.
       While the State submits (Opp. at p. 9) that “Plaintiffs do not seem to dispute that Texas has

a compelling interest in protecting kids,” it ignores whether the Act actually pursues that interest.

See Williams-Yulee v. Fla. Bar, 575 U.S. 433, 449 (2015) (citing Smith v. Daily Mail Publishing


2
  By all indications, no court has held that a law restricting access to adult content to protect
minors draws intermediate scrutiny. See, e.g., Ashcroft; Friends of Georges, Inc. v. Mulroy,
2023 WL 3790583, at *26-28 (W.D. Tenn. June 2, 2023); Am. Booksellers Found. for Free
Expression v. Sullivan, 799 F. Supp. 2d 1078, 1081 (D. Alaska 2011); Se. Booksellers Ass’n v.
McMaster, 282 F. Supp. 2d 389, 395 (D.S.C. 2003).

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Co., 443 U.S. 97, 104–105 (1979)). Plaintiffs explained at length (Mot. 11-13) that the Act is too

underinclusive to accomplish anything other than viewpoint discrimination.

       The “age verification” provision is wildly underinclusive, exempting search engines and

(de facto) most social media sites despite the prevalence of adult content thereon. Rebuttal

Declaration of Richard Sonnier (“Sonnier Re. Decl.”) at ¶ 11; Declaration of Scott Cole (Exh. 5 at

p. 31). Without denying these exemptions, the State incorrectly asserts (Opp. at p. 12) that

implementing age verification would stop search engines from reproducing content extracted from

Plaintiffs’ websites. Sonnier Re. Decl. at ¶ 6. The “health warnings” provision is no less

underinclusive, as it fails to mandate similar warnings for other sources of adult content, such as

printed material, movies, and social media sites. See Brown v. Ent. Merchants Ass’n, 564 U.S.

786, 802 (2011). Both provisions paint a singular target on the back of adult websites, because the

State reviles them as speakers, while exempting ubiquitous other means by which content travels

to minors. See Rebuttal Declaration of Scott Cole (“Cole Re. Decl.”) (Exh. 1 (House Committee

Report (“C.S.H.B. 1181 seeks to hold individuals and entities who publish sexual material harmful

to minors on a website accountable” (emphasis added))). Because the Act manifests speaker-

based viewpoint discrimination, it is not a principled attempt to shield minors from adult content.

See Baker v. City of Fort Worth, 506 F. Supp. 3d 413, 424 (N.D. Tex. 2020). Instead, it fails strict
scrutiny for the simple reason that “government regulation may not favor one speaker over

another.” Rosenberger v. Rector & Visitors of Univ. of Virginia, 515 U.S. 819, 828 (1995).

       The contentious nature of the “health warnings” confirms that “viewpoint discrimination

is inherent in the design and structure of this Act.” Nat’l Inst. of Fam. & Life Advocs. v. Becerra,

138 S. Ct. 2361, 2379 (2018) (Kennedy, J., concurring, Alito, J., Gorsuch, J., and Roberts, CJ.,

joining). Not only are the warnings false or baseless, but they tell a one-sided story scripted by

the government, hiding from the public the ways in which adult content can positively impact both

viewers and participants. See Cole Re. Decl. (Exh. 10, 13-14); Declaration of Jane Doe at ¶ 4. No
scientific principle explains these “warnings,” apart from the State’s anti-porn polemic. Tellingly,

the State offers no response to Plaintiffs’ observation that “it is nonsensical to provide ‘health


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warnings’ to protect minors who, by virtue of the ‘age verification’ requirement, should never be

on adult websites in the first place.” Mot. at pp. 13-14. Even under rational basis review, it would

be irrational to deploy “health warnings” to protect minors who, by the State’s hypothesis, are

blocked from the websites displaying them. All the State is really doing here is discouraging

willing adults from consuming expression the State decries. The State should be espousing its

anti-porn views on its own—not forcing them upon speakers who disagree.
               2.      Neither the “age verification” nor the “health warning” provision is
                       narrowly tailored.
                       (a)       The “age verification” provision flies in the face of Ashcroft and
                                 the evidentiary record.
       The State also fails to carry its burden to show that age verification is the least restrictive

means of achieving its claimed ends. The Supreme Court made clear in Ashcroft that content

filtering is a superior alternative. Ashcroft, 542 U.S. at 666–68. Against this backdrop, it falls to

the State to show otherwise. Not only did the State fail to consider this less restrictive alternative,

it considered no alternatives at all. The Legislature at one point considered combining age

verification requirements with device-level filtering for a maximalist approach. See Senate

Committee              Session              from            1:44:00             to            2:27:00,

https://tlcsenate.granicus.com/MediaPlayer.php?view_id=53&clip_id=17957.               But it never

weighed device-level filtering as an alternative, instead doubling-down on age verification without

identifying any evidentiary basis.            See Senate Session from 3:00:00 to 3:05:00,

https://tlcsenate.granicus.com/MediaPlayer.php?view_id=53&clip_id=18068; compare Cole Re.

Decl. (Exh. 3 (Senate Committee Report)), with id. (Exh. 4 (Senate Amendments)); see also id.

(Exh. 1 (House Committee Report) & Exh. 2 (House Engrossed Report)). Indeed, the Legislature

leaned mostly on anecdotes and advocacy groups. See Senate Committee Session from 1:44:00 to

2:27:00, , https://tlcsenate.granicus.com/MediaPlayer.php?view_id=53&clip_id=17957; see also

Cole Re. Decl. (Exh. 3 (the legislature citing Morality in Media, now known as the National Center
on Child Exploitation (“NCOSE”)); id. (Exh. 5 (article explaining NCOSE’s anti-porn political

lobbying).



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       The Legislature’s disregard of obvious alternatives is fatal. To satisfy heightened scrutiny,

the State must present evidence supporting the Legislature’s judgments. See Turner Broad. Sys.,

Inc. v. F.C.C., 520 U.S. 180, 195–96 (1997). But the State cannot do so where, as here, the

Legislature made no judgment at all. See, e.g., Ass’n of Club Executives of Dallas, Inc. v. City of

Dallas, Texas, 604 F. Supp. 3d 414, 426 (N.D. Tex. 2022) (“no evidence was presented that the

City considered less restrictive means of achieving its stated interest” (emphasis added)). While

the Legislature “is not obligated, when enacting its statutes, to make a record of the type that an

administrative agency or court does to accommodate judicial review,” it cannot fail to consider

less-restrictive alternatives. Turner Broad. Sys., Inc. v. F.C.C., 512 U.S. 622, 666 (1994); see also

Brewer v. City of Albuquerque, 18 F.4th 1205, 1255 (10th Cir. 2021) (“[W]hile such a less-

restrictive-means analysis need not entail the government affirmatively proving that it tried less-

restrictive mean . . . it does entail the government giving serious consideration to such less-

restrictive means before opting for a particular regulation.”); Bruni v. City of Pittsburgh, 824 F.3d

353, 357 (3d Cir. 2016) (same); FF Cosms. FL, Inc. v. City of Miami Beach, 866 F.3d 1290, 1301

(11th Cir. 2017) (same). Here, the Legislature showed no regard for less-restrictive alternatives,

because it was fixated on targeting adult websites. The State’s lawyers cannot now, post hoc,

construct a satisfactory legislative rationale from whole-cloth, as they try to do here, consistent
with heightened scrutiny. See St. Joseph Abbey v. Castille, 712 F.3d 215, 223 (5th Cir. 2013).

       Even if the Legislature had considered less restrictive alternatives, the record does not show

that they would be less effective. The Act’s exemptions for search engines and social media sites,

together with the wide availability of proxy servers and VPNs, shred the Act’s efficacy as to

minors. Mot. at pp. 10-13. In fact, content filtering is necessarily superior for a key reason: the

websites that will comply with the Act are only a subset of the websites containing adult content

that filtering software blocks. Sonnier Re. Decl. at ¶¶ 3-5, 11-13. Not only does the State fail to

address this, but it ignores the alternative of ISP pre-blocking that Plaintiffs also discussed.
       The State presents scant, defective evidence to impugn content filtering. Apart from noting

(Opp. at p. 11 n.37) that some parents do not use or need to be educated about content filtering—


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which supports Plaintiffs’ position3—the State’s only purported evidence against content filtering

(Opp. at p. 11 n.36) consists of a study that defines “failure” as allowing just one instance of nudity

to slip past the filter over the span of an entire year. See Cole Re. Decl. (Exh. 6 (Przybylski &

Nash, “Internet Filtering and Adolescent Exposure to Online Sexual Material,” 21 CYBERPSYCH,

BEHAV., AND SOC. NETWORKING 405, 407 (2018))). The State’s evidence thus depends on a

grossly unrealistic metric of success. See Ass’n of Club Executives, 604 F. Supp. 3d at 427

(rejecting the State’s “shoddy reasoning”). In fact, while the tailoring analysis requires weighing

practical alternatives, the State here faults one alternative for not being perfect, even though none

is. See Garden Dist. Book Shop, Inc. v. Stewart, 184 F. Supp. 3d 331, 339 (M.D. La. 2016).

Notably, the sole imperfection the State now attributes to content-filtering (a single instance of

nudity) would not even offend the Act. See § 129B.001(6).

       The State fails to rebut Plaintiffs’ evidence. It first suggests (Opp. at p. 12) that Pornhub’s

state-by-state metrics show that VPNs do not work, but this is backwards: because VPNs mask IP

addresses, the data is a best-guess of users’ locations. Declaration of Richard Sonnier (“Sonnier

Decl.”) at ¶¶ 18-25. The State then argues that VPNs and proxy servers are the “the modern

version” of a fake ID. But proxy servers and VPNs are legal and easily available to internet users.

Id. at ¶ 25. The State next posits that minors may struggle to afford VPNs capable of circumventing
the Act, gliding past the fact that minors can bounce between free trials. Id. The State also ignores

the other circumvention methods Plaintiffs discussed, such as the free “Tor” browser. Finally, the

State suggests (Opp. at p. 12) Plaintiffs should prevent VPN usage, but that is irrelevant to the Act,

which does not require any such thing of Plaintiffs.

       The State does not dispute that adults’ rights to free expression will be substantially

curtailed by the Act, because the Act requires adults to surrender their sensitive personal

information in order to access constitutionally protected speech. As Plaintiffs explained (Mot. at

p. 11), providing such information on the internet poses far greater risks than doing so in person,


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  “Congress undoubtedly may act to encourage the use of filters. . . . It could also take steps to
promote their development by industry, and their use by parents.” Ashcroft, 542 U.S. at 669.

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with the inevitable result that many adults will eschew websites that comply with the Act. The

State discusses (Opp. at p. 11) particular services offered by the “Age Verification industry”

(Declaration of Tony Allen at ¶ 64) to reduce risks to personal data. But the Act contains no such

limitations or requirements. While embracing the use of personally identifying information, see §

129B.003, the Act provides no remedy to private individuals harmed by the loss of that

information. In sum, the Act thus goes much farther than necessary in burdening speech.
                      (b)     The State effectively concedes that the “health warnings”
                              provision is not narrowly tailored.
       Although the State insists that its “health warning” provision places no “restrictions” on

speech (Opp. at p. 13), this misses the point. The warnings are expressly designed to deter

consumption of the content at issue and constitute content-based, compelled speech on a

controversial topic. Mot. at pp. 13-15. As such, they flagrantly violate the First Amendment in

ways that the State hardly defends. See Opp. at p. 16 (devoting two sentences to the issue). The

State does not dispute that it could instead employ “a public-information campaign,” nor does the

State defend the Act’s requirement of displaying the inapposite US Substance Abuse Helpline.

Nat’l Inst. of Fam. & Life Advocs. v. Becerra, 138 S. Ct. 2361, 2376 (2018) (cleaned up). Rather,

the State claims simply that the “health warnings” serve “to educate” minors—a proposition that,

as explained above (see supra at p. 7), fails on its face. Such a feeble defense cannot withstand
scrutiny.

       C.      The State Fails To Rebut That The Act Is Impermissibly Vague
       Vagueness, too, infects the Act, which is especially problematic where First Amendment

rights are at stake. See Mot. at p. 16. The State compares (Opp. at p. 18) the Act’s “more than

one-third” standard for material on the internet to a “substantial portion” standard for physical

items but thereby highlights the vagueness problem: unlike physical items, for which the unit of

counting is obvious, a standard for the internet must define the unit of counting in order to be

comprehensible. As Plaintiffs noted (Mot. at p. 17), it is impossible to tell how to perform the
Act’s “more than one-third” calculation. One knows to count books in a bookstore, but cyberspace

lacks any corresponding unit for counting. The State also ignores how the phrase “with respect to


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minors,” see Am. C.L. Union v. Ashcroft, 322 F.3d 240, 268 (3d Cir. 2003), and the Act’s silence

on the frequency of age verification further compound the Act’s unintelligibility.4 Nor does the

State defend the incoherence of requiring 14-point font on webpages. See Mot. at p. 14 n.4.

       D.      Section 230 Is Violated
       The State suggests (Opp. at p. 19) that Doe v. MySpace, 528 F.3d 413 (5th Cir. 2008), is

distinguishable because the plaintiff sought to recover in tort for harm caused by a third party,

while the Act does not require an allegation of “individualized harm.”5 The State cites no authority

for this distinction. MySpace makes clear that section 230 immunity depends on the substance of
the claim. See id. at 419. If “recharacterizing the plaintiff’s claims” shows that the theory of

liability is based on “decisions relating to the monitoring, screening, and deletion of content,” the

claims are barred and preempted. Id. (cleaned up). It is irrelevant whether “individualized harm”

(Opp. at p. 19) is alleged. See, e.g., Backpage.com, LLC v. Hoffman, 2013 WL 4502097, at *6

(D.N.J. Aug. 20, 2013) (section 230 preempted a New Jersey law criminalizing the display of

sexual advertisements depicting minors). Just so here, the Act forces upon Plaintiffs a decision

“quintessentially related to a publisher’s role”—to filter its audience in a particular manner. Id.

(cleaned up). Even the Act’s title focuses on “the publication” of adult content, and the House

Committee Report reveals that the Legislature sought to hold websites “accountable.” Cole Re.

Decl. (Exh. 1). The Act thus triggers section 230’s protection.

       The State finally asserts that the platform Plaintiffs create content of their own, but this is

a red herring. Whatever content the platform Plaintiffs’ produce is largely in the form of blogs,

different from adult content. Moreover, to the extent the State would characterize (Opp. at p. 19)

certain Plaintiffs as responsible for the creation of certain adult content, that would not prevent


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  In mentioning facial overbreadth (Opp. at p. 18), the State stumbles. A “substantial number”
of the Act’s applications are unconstitutional in relation to its “legitimate sweep” because the
State’s interests do “not justify an unnecessarily broad suppression of speech addressed to
adults,” not because the Act is vague. Reno v. Am. C.L. Union, 521 U.S. 844, 874–75 (1997).
5
  The State incorrectly suggests (Opp. at p. 18) that section 230 does not apply to foreign actors.
Congress extended protection to anyone in the U.S. courts, exactly where Plaintiffs will be again
unless the Act is enjoined. See Force v. Facebook, Inc., 934 F.3d 53, 74 (2d Cir. 2019).

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application of section 230 to the Plaintiffs which do not and would not have anything to do with

the Act, which holds all platform providers accountable as though they are all publishers of the

content at issue.
IV.    THE STATE FAILS TO REBUT PLAINTIFFS’ SHOWING OF IRREPARABLE,
       ONE-SIDED HARM
       The State ignores (Opp. at p. 21) the First Amendment injuries presented here. It also

baldly claims (Opp. at p. 21) that violations of section 230 do not give rise to irreparable harm,

ignoring the authority Plaintiffs cited. Mot. at p. 19. The State speculates (Opp. at p. 22) about

affirmative defenses in hypothetical future actions and mentions how some Plaintiffs have

responded to other laws in different jurisdictions. None of that rebuts Plaintiffs’ showing of

multiple lines of irreparable harm, starting with what follows inexorably from the violation of

Plaintiffs’ First Amendment rights.

       Finally, Plaintiffs agree that the “public interest” and “balance of harms” factors merge

when the government is the defendant.       But those factors favor Plaintiffs’ here. The Act

discriminates by content and viewpoint, restricting speech that is protected and compelling speech

that is anathema. Under Ashcroft and other seminal precedents, such an invasion of the First

Amendment classically warrants a preliminary injunction. See Fund Texas Choice v. Paxton, 2023

WL 2558143, at *27 (W.D. Tex. Feb. 24, 2023) (enjoinment of an unconstitutional law is always
in the public interest). The State has no cognizable interest in singling out disfavored viewpoints

and speakers for condemnation, even as the same content continues to flow freely to minors

through other channels (like search engines and social media). Plaintiffs satisfy the requirements

for a preliminary injunction, and this Court should preserve the status quo pending further

proceedings and ultimate adjudication of the merits.

                                        CONCLUSION
       Plaintiffs respectfully request that this Court preliminarily enjoin enforcement of the Act.




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DATED: August 21, 2023          QUINN EMANUEL URQUHART &
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